     Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

UNITED STATES OF AMERICA,                     *

       Respondent-Plaintiff,                  *       Orig. Crim. No. 5:02-CR-27-CAR

v.                                            *

DWIGHT D. YORK,                               *

       Petitioner-Defendant.                  *

                 MOTION TO VACATE, CORRECT, OR SET ASIDE
            THE PETITIONER’S SENTENCE PURSUANT TO 28 U.S.C. § 2255

       COMES NOW, the Petitioner DWIGHT D. YORK, by and through undersigned counsel,

and moves this Honorable Court to vacate the convictions and subsequent sentence heretofore

imposed, based upon the denial of the rights to a fair jury trial, due process of law, and effective

assistance of counsel as guaranteed by the Fifth and Sixth Amendments to the United States

Constitution. At sentencing, counsel failed to properly preserve an argument based upon the

decision issued in Blakely v. Washington. On appeal, counsel was ineffective in that, during oral

arguments, counsel made false claims that the Blakely-Booker issue had been preserved at the

lower level. In doing so, appellate counsel failed to argue that the standard of review utilized by

the Court of Appeals was erroneous. Trial counsel was also ineffective at trial because he was

unprepared to try this complex multi-count prosecution, ill-prepared to address the expert

witnesses presented by the government, ill-equipped to provide legal representation in a matter

of this magnitude, ineffective insofar as the directive and desires of the Petitioner were ignored,

and because the post-trial counsel’s actions were totally inconsistent with the wishes of the

Petitioner, when he withdrew the Petitioner’s motion for new trial despite the merits of the issues
     Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 2 of 12




raised therein and without advising the Petitioner that such action was being taken. In addition,

the Petitioner was deprived of effective legal representation when the Court, in violation of the

6th Amendment, forced the Petitioner to have counsel that had been fired to continue in a

representative capacity. Moreover, Petitioner was deprived of a fair trial as a result of the

Court’s clear bias as gleaned from its inappropriate visits to Internet Web sites for the purpose of

conducting independent research regarding the Petitioner and his affiliations.

       Equally, significant is the fact that several witnesses of serious impact have now recanted

their testimony and advised of serious prosecutorial misconduct calling the Petitioner’s entire

conviction into question particularly in light of the fact that trial counsel was both ill-prepared

and ill-equipped at the time of trial to go forward and/or completely advance the Petitioner’s

interest. Furthermore, the Court had no jurisdiction to convene or conduct a trial of the

defendant due to his status as a Liberian diplomat.

Therefore, the Petitioner requests that his convictions and sentence be vacated. In support

hereof, the Petitioner states the following:

1.     On November 21, 2003, a superseding indictment was returned against the Petitioner by

       the Grand Jury for the Middle District of Georgia. The indictment charged the Petitioner

       with: conspiracy to commit racketeering acts in violation of 18 U.S.C. § 1962(d)(Count

       One); racketeering violations in violation of 18 U.S.C. § 1962(c)(Count Two); conspiracy

       to transport minors in interstate commerce for unlawful sexual activity and conspiracy to

       structure cash transactions to evade currency reporting requirements in violation of 18

       U.S.C. § 371(Count Three); transporting minors in interstate commerce for the purposes

       of unlawful sexual activity in violation of 18 U.S.C. §§ 3283, 2423(a) and 2(Counts Four

       thru Six and Eight); traveling in interstate commerce for the purpose of engaging in

                                                  2
Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 3 of 12




 unlawful sexual acts with a minor in violation of 18 U.S.C. §§ 3283 and 2423(b)(Count

 Seven); structuring transactions to evade reporting requirements in violation of 31 U.S.C.

 §§ 5324(a)(3) and 5313(a) and 18 U.S.C. § 2(Counts Nine thru Eleven); RICO forfeiture

 pursuant to 18 U.S.C. § 1963(Count Twelve); and criminal forfeiture in violation of

 exploitation of minors pursuant to 18 U.S.C. § 2253(Count Thirteen).

        These charges arose out of an investigation conducted by Putnam County,

 Georgia law enforcement officials, the Federal Bureau of Investigation (FBI), and the

 Internal Revenue Service (IRS). The Petitioner was allegedly the leader of a religious

 organization, initially named the Nubian Islamic Hebrews, that was deemed a cult by the

 FBI, prompting the instant investigation. In 1998, law enforcement officials started

 receiving anonymous letters and e-mails stating that sexual misconduct was occurring on

 the Petitioner’s property in Eatonton, Georgia. By 2001, local and federal law

 enforcement officials were receiving telephone calls alleging sexual misconduct on the

 Petitioner’s property, including the sexual abuse and molestation of children.

        Allegedly, weekly income from the organization’s sale of goods was prepared for

 deposit after the removal of large denomination bills, which were stored by the Petitioner

 in a suitcase in his bedroom. At the Petitioner’s instruction, it was alleged, no more than

 $9,000 was to be deposited into any single account at a time. Paperwork was not to be

 filled out on any cash deposit. Several times, according to the allegations at trial, aa

 follower left the bank without making a deposit when instructed by the bank teller than a

 form would have to be completed. One bank with which the Petitioner had regular

 dealings filed several suspicious activity reports (SARs) and currency transaction reports

 (CTRs) regarding the Petitioner’s financial dealings. The FBI obtained these reports,

                                           3
Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 4 of 12




 learning that on 41 separate occasions, multiple deposits totaling more than $10,000 were

 made to one or more of the Petitioner’s bank accounts. At trial, the government

 presented evidence designed to prove that deposits made on September 29 and 30, 1999;

 October 6 and 8, 1999; and April 5 and 11, 2000 were designed to evade currency

 reporting requirements.

        Aside from the financial irregularities alleged to have occurred in this case,

 allegations of sexual abuse of minors by the Petitioner were also raised. Allegedly,

 previously molested younger children were employed to bring new children to the

 Petitioner once they had gotten older. Children refusing the Petitioner’s advances were

 ignored, not fed well, and not allowed to go outside and play. It was also alleged that

 eventually, a family could be expelled from the compound following repeated refusals to

 join in sexual activity by children. The children were told that the sexual activity was

 instructional as well as part of an ancient Sudanese ritual, assisting in preparing the child

 for marriage. The women would then bring the child into the Petitioner’s room, where

 they would watch pornographic movies. Presents were allegedly given to children who

 cooperated. Several of the children allegedly received sexually transmitted diseases from

 these encounters. Chlamydia Trachomatis, Herpes Simplex I, and herpes simplex II were

 detected in several of the children involved in the instant matter. No such diseases,

 however, were ever associated with the Petitioner.

        The investigation of this matter revealed eleven alleged victims of sexual

 molestation that had crossed state lines. Habiybah Washington was allegedly first

 molested by the Petitioner when she was 13 years of age. Washington was also allegedly

 forced by the Petitioner to bring other minors to him for sexual purposes, including

                                           4
     Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 5 of 12




      Amala Noel. When arriving from New York to the Eatonton compound, Washington was

      pregnant with the Petitioner’s son. The Petitioner allegedly threatened Washington with

      physical violence when she informed him that she was leaving the compound in

      February, 2001. After the trial, Habiybah Washington, in a sworn affidavit, stated that

      her testimony at trial had been fabricated. Docket Entry 342. Washington stated that the

      allegations raised against the Petitioner were coerced from Jacob York, the Petitioner’s

      son, who blamed the Petitioner for the premature death of his mother. Docket Entry 342.

2.    The Petitioner entered an initial plea of not guilty to the aforementioned charges.

      Thereafter, the Petitioner filed a motion to sever pursuant to Fed.R.Crim.P. 8(a) and 14.

      The Petitioner also filed a motion to dismiss the indictment based upon the outrageous

      government conduct in this matter. A motion to dismiss the superseding indictment was

      also filed, based upon the Petitioner possessing head of state immunity as the leader of

      the Yamassee Indian tribe. Counsel also filed a motion to dismiss Counts Six and Two of

      the superseding indictment for failing to allege a violation of federal law. A motion was

      also filed to exclude the testimony of Kenneth Lanning. The court denied all of the

      aforementioned motions. Counsel went on to file several more motions prior to trial,

      including motions to suppress evidence of alleged victim’s chastity pursuant to F.R.E.

      412, for additional peremptory strikes, and for admission of motive evidence as an

      exception to the rape shield law. These motions were also denied. On December 12,

      2004, Adrian L. Patrick entered his appearance as counsel for the Petitioner. Counsel

      filed a motion to continue the trial in the interest of justice for counsel to prepare for trial

      on January 2, 2004. That motion was denied by the Court on January 5, 2004, meaning

      that counsel had less than one month to prepare for the Petitioner’s trial.

                                                 5
      Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 6 of 12




3.       Voir dire started in the instant matter on January 5, 2004 in the United States District

         Court for the Middle District of Georgia, Macon Division, 1 before the Honorable C.

         Ashley Royal. The trial lasted until January 23, 2004, at which point the jury returned a

         verdict of guilty as to all counts of the superseding indictment except for Counts Eight

         and Twelve, upon which the Petitioner was acquitted.

4.       On January 30, 2004, the Petitioner filed a motion for a new trial. On the same day, a

         motion for judgment of acquittal was also filed. The motion for new trial was based upon

         the recantation of witness Habiybah Washington. However, then counsel withdrew these

         motions without first discussing such actions with the Petitioner. Docket Entry 342.

5.       Prior to sentencing, a Pre-sentence Investigation Report was prepared. As several counts

         of conviction consisted of numerous criminal acts, each act was identified and grouped

         with other acts that exhibited a common criminal objective, pursuant to U.S.S.G. §

         3D1.2. Twelve groups were created. Count Groups IV, V, and VI all involved the

         interstate transport of minors for unlawful sexual activity as the common criminal

         objective. These three groups had the highest total offense level. A base offense level of

         27 was received in these groups for criminal sexual abuse, pursuant to U.S.S.G. §

         2A3.1(a). A four level enhancement was issued pursuant to U.S.S.G. § 2A3.1(b)(2)(A)

         as the victims had not reached the age of twelve. Two levels were added to the base

         offense level pursuant to U.S.S.G. § 2A3.1(b)(3)(A) as the victim was under the care and

         supervisory control of the Petitioner. A four level leadership enhancement was issued. A

         further two level enhancement was issued pursuant to U.S.S.G. § 3B1.4 as a person under


1
 / The actual trial itself was moved to Brunswick, Georgia due to pretrial publicity which made it all but impossible
for the defendant to obtain a fair trial.

                                                         6
     Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 7 of 12




      the age of 18 was used to aid in committing the offenses at issue. The total offense level

      was therefore determined to be 39. Count Groups II and III, also based upon the

      interstate transport of minors for unlawful sexual activity, resulted in the calculation of a

      base offense level of 35. Unlike Count Groups IV thru VI, the Petitioner did not receive

      a two level enhancement for using an individual under the age of 18 in committing the

      offenses and the age of the victim was between 12 and 16, necessitating a two level

      enhancement instead of a four level enhancement, pursuant to U.S.S.G. § 2A3.1(b)(2)(B).

      Taking the greatest adjusted total offense level value, 39, and adding the appropriate

      number of ‘units’ as determined by U.S.S.G. § 3D1.4, which was calculated to be 4, the

      combined total offense level in this matter was determined to be 43.

             The Petitioner received one criminal history point pursuant to U.S.S.G. §

      4A1.1(c) for a 1987 conviction for possession of false identification with intent to

      defraud the United States. With only one criminal history point, the Petitioner’s criminal

      history category was determined to be I. Based upon an offense level of 43 and a

      criminal history category of I, the Guideline range of imprisonment was determined to be

      life. Pursuant to U.S.S.G. § 5G1.2(d), because the count carrying the highest statutory

      maximum was less than the Guideline range of imprisonment, sentences imposed on

      other counts shall run consecutively in order to produce a combined sentence equal to the

      Guideline range of imprisonment.

6.    Objections were filed by the Petitioner to the Pre-sentence Investigation Report (PSR).

      The Petitioner argued that the 1993 version of the Sentencing Guidelines should have

      been utilized in this matter instead of the 2000 Guidelines, in order to avoid an ex post

      facto violation. The Petitioner also moved for a downward departure based upon his

                                                7
     Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 8 of 12




       worsening mental state as well as the possibility that he will be victimized in prison due

       to the nature of his case. Counsel also objected to the application of a leadership

       enhancement and a ‘care and supervisory’ enhancement pursuant to U.S.S.G. §

       2A3.1(b)(3)(A).

7.     On April 22, 2004, the Petitioner appeared for sentencing. The Petitioner’s objections

       were denied. The Petitioner was sentenced to a term of incarceration of 1,620 months.

       Judgment was entered against the Petitioner on May 7, 2004.

8.     The Petitioner thereafter filed a timely notice of appeal. On appeal to the United States

       Court of Appeals for the Eleventh Circuit it was argued that: (1) the indictment misjoined

the sexual abuse charges with the financial structuring charges, and the district court erred in

failing to sever those charges; (2) the district court erred in refusing to dismiss the RICO counts

because the United Nation of Nuwaubian Moors is not an “enterprise” under RICO and because

there is insufficient connection between the Petitioner’s alleged acts and the Nuwaubian

organization; (3) the district court erred in refusing to dismiss the indictment as the indictment

was improperly returned by a grand jury tainted by pre-trial publicity; (4) the district court erred

in allowing the government to call a rebuttal witness and disallowing the Petitioner to do the

same; (5) there was insufficient evidence to convict the Petitioner of the charges that he

transported minors in interstate commerce with the intent that the minors would engage in

unlawful sexual activity or that the underlying sexual activity undertaken by the Petitioner was

unlawful; (6) the district court erred in denying the Petitioner’s motion to dismiss two counts of

the indictment because the minor victim was over the age of consent at the time the sexual act

took place; (7) the district court erred in denying the Petitioner a continuance when the Petitioner

retained new counsel prior to trial thereby creating a prima facie case of ineffective assistance of

                                                  8
     Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 9 of 12




counsel; (8) the Petitioner’s sentence was issued in violation of the Sixth Amendment under

United States v. Booker because the district court enhanced the sentence based upon facts not

reflected in the jury’s verdict and issued a sentence under a mandatory Guideline scheme; (9) the

petitioner’s sentence was issued in violation of the ex post facto clause of the United States

Constitution because the Petitioner was sentenced under the November 2000 edition of the

Guidelines rather than the November 1993 edition of the Guidelines; and (10) counsel was

ineffective in withdrawing motions for judgment of acquittal and for a new trial without the

Petitioner’s consent.

       At oral argument, counsel for the Petitioner argued that the Booker argument had been

preserved in the district court, even though it clearly had not been preserved. In doing so,

counsel failed to address the error of the appellate court’s posture that the plain error standard did

not serve to warrant remand in this case, despite the statutory error in applying the Guidelines in

a mandatory fashion.

       On October 27, 2005, the appellate court affirmed the Petitioner’s conviction and

sentence. The 11th Circuit opined that most of the issues raised on appeal “lacked merit,” and

only the pre-trial publicity and severance claims were worthy of any further discussion. The 11th

Circuit further opined that the issue of ineffective assistance of counsel was not properly before

it because the record below was not sufficiently developed. U.S. v. York, 428 F.3d 1325, 1330

(11th Cir. 2005). The Petitioner thereafter filed a timely petition for writ of certiorari with the

United States Supreme Court, raising those issues that were raised on appeal. The petition was

denied by the Supreme Court on June 26, 2006. 126 S.Ct. 2948 (2006).

9.     The Petitioner has taken no further legal action in this case.


                                                  9
      Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 10 of 12




10.     During pre-trial proceedings, the Petitioner was represented by Edward T.M. Garland,

        Esq. 3151 Maple Drive, N.E., Atlanta, Georgia 30305; Frank Rubino, Esq., 2601 South

        Bayshore Drive, Suite 1400, Coconut Grove, Florida 33133; Harry Jean Charles, Esq.,

        P.O. Box 95, Jonesboro, Georgia 30237; Leroy R. Johnson, Esq., 3915 Cascade Road,

        S.W., Promenade Park, Suite 260, Atlanta, Georgia 30331; and Manubir S. Arora, Esq,

        3151 Maple Drive, N.E., Atlanta, Georgia 30305. At trial, sentencing, and on appeal, the

        Petitioner was represented by Adrian L. Patrick, Esq., 1044 Baxter Street, Athens,

        Georgia 30601; and Benjamin A. Davis, II, Esq., 1201 Peachtree Street, 400 Colony

        Square, Suite 200, Atlanta, Georgia 30361. Jonathan Marks, Esq., 220 Fifth Avenue, 3rd

        Floor, New York, New York 10001. The Petitioner submits that his detention is

        unlawful, and refers the Court to the Memorandum of Points and Authorities in further

        support thereof which shall be filed as a supplement to this pleading forthwith.

11.     The Petitioner is currently in the custody of the Federal Corrections Institution in

        Florence, Colorado. The Petitioner’s inmate registration number is 17911-054.

        WHEREFORE, in consideration of the foregoing as well as arguments of law contained

in the forthcoming Memorandum of Points and Authorities, the Petitioner respectfully prays that

this Court issue an Order vacating the convictions and sentence imposed in this case based upon

the challenges to the existence of due process during the trial itself, the ineffective assistance of

counsel throughout the proceedings before the Courts, and the ineffective assistance of counsel

throughout the proceedings before the Courts, and the lack of proper jurisdiction of the Court in

this matter. In the absence of the issuance of such an order, the Petitioner requests that at a

minimum the Court is obligated to convene an evidentiary hearing on these issues.


                                                  10
Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 11 of 12




                               Respectfully submitted,

                               Reginald A. Greene, Esquire
                               675 West Peachtree Street, N.W.
                               Suite 4300
                               Atlanta, Georgia 30375
                               (404) 335-0761 voice
                               (404) 614-4054 fax

                               Malik Shabazz
                               1250 Connecticut avenue, N.W.
                               Washington, D.C. 20036
                               (202) 408-7021

                               Gregory L. Lattimer
                               Law Offices of Gregory L. Lattimer
                               1100 H Street, N.W.
                               Suite 920
                               Washington, D.C. 20005
                               (202) 638-0095
                               (202) 638-0091 (Fax)
                               lattlaw@aol.com




                                 11
Case 5:02-cr-00027-CAR-CHW Document 382 Filed 06/27/07 Page 12 of 12
